
970 A.2d 320 (2009)
408 Md. 427
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
John Douglas LAWRENCE, Jr., Respondent.
Misc. Docket AG No. 70, September Term, 2008.
Court of Appeals of Maryland.
May 1, 2009.

ORDER
Upon consideration of the Joint Petition for Indefinite Suspension by Consent filed herein, pursuant to Maryland Rule 16-772, it is this 1st day of May, 2009,
ORDERED, by the Court of Appeals of Maryland, that John Douglas Lawrence, Jr., be, and he is hereby, indefinitely suspended by consent from the further practice of law in the State of Maryland; and it is further,
ORDERED, that the Clerk of this Court shall strike the name of John Douglas Lawrence, Jr. from the register of attorneys, and pursuant to Maryland Rule 16-772(d) shall certify that fact to the Trustees of the Client Protection Fund and the Clerks of all judicial tribunals in this State.
